                                           Case 06-90200-AKM-7A                      Doc 48           Filed 04/29/19
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                                                                                          ASSET CASES

Case No.:                     06-90200-BHL                                                                                                               Trustee Name:                             Charity S. Bird
Case Name:                    PACK, TERRY EDWARD AND PACK, VEVA MARIE                                                                                    Date Filed (f) or Converted (c):          02/23/2006 (f)
For the Period Ending:        03/31/2019                                                                                                                 §341(a) Meeting Date:
                                                                                                                                                         Claims Bar Date:                          09/17/2018

                                  1                                             2                              3                                 4                        5                                          6

                         Asset Description                                   Petition/                  Estimated Net Value                   Property               Sales/Funds             Asset Fully Administered (FA)/
                          (Scheduled and                                   Unscheduled                 (Value Determined by                   Abandoned              Received by            Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                Value                           Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       Real Property                                                          $100,000.00                                      $0.00                                          $0.00                                            FA
2       Bank Accounts - Home Federal Checking                                         $70.00                                    $0.00                                          $0.00                                            FA
3       Cash                                                                          $25.00                                    $0.00                                          $0.00                                            FA
4       Bank Accounts - Home Federal Savings                                          $70.00                                    $0.00                                          $0.00                                            FA
5       Household Goods and Furnishings                                             $1,500.00                                   $0.00                                          $0.00                                            FA
6       Books, pictures, art objects, antiques, stamps,                               $20.00                                    $0.00                                          $0.00                                            FA
        coin, record, tape, compact disc, and other
        collections or collectibles
7       Furs and Jewelry                                                             $100.00                                    $0.00                                          $0.00                                            FA
8       Firearms, sports, photographic and other hobby                                $25.00                                    $0.00                                          $0.00                                            FA
        equipment
9       Interests in IRA, ERISA, Keogh, or other                                $39,327.00                                      $0.00                                          $0.00                                            FA
        pension sharing plans
10      Interests in IRA, ERISA, Keogh, or other                                    $3,162.00                                   $0.00                                          $0.00                                            FA
        pension sharing plans
11      1997 Mercury Mountaineer                                                    $3,500.00                                   $0.00                                          $0.00                                            FA
12      1994 Chevrolet S10                                                          $1,000.00                                   $0.00                                          $0.00                                            FA
13      1992 Chevrolet Beretta                                                       $100.00                                    $0.00                                          $0.00                                            FA
14      GoKart                                                                      $1,000.00                                   $0.00                                          $0.00                                            FA
15      2 dogs                                                                         $0.00                                    $0.00                                          $0.00                                            FA
16      Cub Cadet Lawn Mower                                                        $1,500.00                                   $0.00                                          $0.00                                            FA
17      Product Liability Settlement                             (u)            $12,000.00                              $12,000.00                                             $0.00                                     $12,000.00


TOTALS (Excluding unknown value)                                                                                                                                                                Gross Value of Remaining Assets
                                                                                $163,399.00                            $12,000.00                                              $0.00                               $12,000.00




     Major Activities affecting case closing:
      03/03/2019     3/3/19 - Sent email to personal injury counsel re: status of settlement
      12/01/2017     Executed form to administer asset with Settlement Alliance re: $12K settlement
                                        Case 06-90200-AKM-7A         Doc 48       Filed 04/29/19
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                            Page No:    2

                                                                              ASSET CASES

Case No.:                  06-90200-BHL                                                                                            Trustee Name:                             Charity S. Bird
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                                                                                                                                   Claims Bar Date:                          09/17/2018

                               1                                 2                          3                              4                        5                                          6

                       Asset Description                       Petition/             Estimated Net Value                Property               Sales/Funds             Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled            (Value Determined by                Abandoned              Received by            Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)



Initial Projected Date Of Final Report (TFR):   12/28/2018                 Current Projected Date Of Final Report (TFR):       10/31/2019               /s/ CHARITY S. BIRD
                                                                                                                                                        CHARITY S. BIRD
